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 7
                                        UNITED STATES DISTRICT COURT
 8
                                  SOUTHERN DISTRICT OF CALIFORNIA
 9

10                                      (HONORABLE JOHN A. HOUSTON)

11

12   UNITED STATES OF AMERICA,                   )
                                                 )
13
                           Plaintiff,            )              CASE NO. 09CR1336-JAH
14                                               )
                                                 )              ORDER ALLOWING COPY
15                 v.                            )              CONNECTION TO BILL THE
                                                 )              COURT FOR THEIR SERVICES
16   BRIAN SANFORD HAMPTON,                      )
17                                               )
                           Defendants.           )
18                                               )

19
            FOR GOOD CAUSE APPEARING, authorization is made for the payment to Copy Connection,
20

21   upon receipt of a CJA-21 voucher for cost in the amount of an additional $500.00, and authorization for

22   interim billing of any future discovery materials produced by Copy Connection in regard to this case.
23          IT IS SO ORDERED.
24
     DATED: August 10, 2009
25
                                                         JOHN A. HOUSTON
26                                                       United States District Judge
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